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                                                FINRA DisputeEntered
                                                              Resolution on  FLSD Docket 03/07/2022 Arbitrator
                                                                         Services                    Page ID:  1 of 6A16138


                                           Arbitrator Disclosure Report
                             Arbitrator last affirmed the accuracy of this Disclosure Report on 10/14/2020


                                                           ARBITRATOR
Name:                 Mr. James M. Scutti                              Classification:         Public
Arbitrator ID:        A16138                                           FINRA Mediator:
CRD #:                                                                 Chair Status:           Qualified
City/State/Country:   Vero Beach / FL / United States                 DR Portal Registered: Yes


                                                           EMPLOYMENT
Start Date         End Date                   Firm                                                             Position
07/2006            Present                    Retired                                                          N/A
01/2003            07/2006                    James M. Scutti - Attorney at Law                                Attorney/Sole Practitioner
01/1991            01/2003                    Jim Scutti, PA                                                   Attorney/President
11/1989            01/1991                    Law Offices of Faro & Scutti                                     Attorney/Partner
10/1984            11/1989                    Jim Scutti, Attorney at Law                                      Attorney/Sole Practitioner
04/1980            08/1984                    Securities & Exchange Commission                                 Attorney
08/1975            04/1980                    Office of Hearings & Appeals SSA                                 Attorney/Advisor
09/1974            08/1975                    Unemployed                                                       N/A
12/1973            09/1974                    Caddo-Bossier Legal Aid Society                                  Staff Attorney
05/1973            12/1973                    Unemployed                                                       N/A
02/1966            04/1970                    US Army                                                          Captain Honorably
                                                                                                               Discharged


                                                             EDUCATION
Start Date         End Date             School                                                                 Degree
09/1970            05/1973              Tulane University Law School                                           JD
02/1962            02/1966              Temple University                                                      BS


                                                               TRAINING
Completed          Description                   Details                    Firm/School                 Hours        Location
09/2011            Suspicious Act Rpt &                                     FINRA                                    online
                   Anti-Money Laundrg
06/2011            Discovery Training (2011)                                FINRA                             1      online
03/2009            Motion to Dismiss                                        FINRA
                   Training
01/2009            Expungement - 2008                                       FINRA                             1      online
                   Refresher
11/2008            Revised Code of                                          FINRA                             2      online
                   Arbitration
05/2006            Additional Securities         Workshop Topic of          NYSE                             2.5     Ft. Lauderdale, FL
                   Training                      Interest
03/2005            Additional Securities         Workshop Topic of          NYSE                             2.5     Ft. Lauderdale, FL
                   Training                      Interest
  Page    1 of 6
        Case
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                                                FINRA DisputeEntered
                                                              Resolution on  FLSD Docket 03/07/2022 Arbitrator
                                                                         Services                    Page ID:  2 of 6A16138
08/2004            Expungement online                                     NASD                    1.5   online
                   mini-course
03/2004            Additional Securities       Workshop Topics of         NYSE                     2    Ft. Lauderdale, FL
                   Training                    Intereset
03/2003            Additional Securities       Timely Topics              NYSE                     2    Ft. Lauderdale, FL
                   Training
03/2002            Additional Securities       Interactive Workshop       NYSE                     3    Ft. Lauderdale, FL
                   Training                    II
05/2001            Additional Securities       Florida Law Recent         NYSE                    1.5   Ft. Lauderdale, FL
                   Training                    Changes
05/2001            Additional Securities       Securities Arbitration     NYSE
                   Training                    Training
03/2000            Additional Securities                                  NYSE                          Ft. Lauderdale, FL
                   Training
12/1998            Additional Securities       Pet Peeves and             NYSE                     2    Ft. Lauderdale, FL
                   Training                    Perplexing Problems
06/1998            NASD Mediation Skills                                  NASD                     6
                   Conference
04/1998            Additional Securities       Securities Arbitrator      NYSE
                   Training                    Training
10/1997            Employment Law                                         NASD
                   Training
09/1997            New Chairperson                                        NASD                    11    location varies
                   Training [NASD]
07/1997            Participatory Arbitrator                               NASD
                   Skills Program
06/1997            New Panel Member                                       NASD                    11    location varies
                   Training [NASD]

                                        DISCLOSURE/CONFLICT INFORMATION
Type                                  Firm Name                                         Details
Has an account with                   Fidelity Brokerage Services LLC
Related Conflict With                 Fidelity Distributors Corporation                 Conflict due to a merger/acquisition
Related Conflict With                 Fidelity Investments Institutional Services       Conflict due to a merger/acquisition
                                      Company, Inc.
Related Conflict With                 National Financial Services Llc                   Conflict due to clearing relationship
Adverse to in legal action            Allen Bush Brok Co.                               Defended co-defendent (1985-1986)
Adverse to in legal action            Asset Management Corporation                      As counsel (1989-1991) concluded
Has an account with                   Bank of America                                   Personal and checking
Represented in legal action           Bernard, Lee & Edwards                            As counsel (2001 and 2002) concluded
Adverse to in legal action            CIBC World Markets                                As counsel (2001-2002) concluded
Represented in legal action           Cadaret, Grant & Company                          As counsel (1997) concluded
Represented in legal action           Carlton National Brokers, Ltd.                    As counsel (2002-2003) concluded
Adverse to in legal action            Copeland Securities                               As counsel (1988-1991) concluded
Adverse to in legal action            Corp. Securities Group                            As counsel (1996) concluded
Adverse to in legal action            Dean Witter                                       As counsel (1986-1987) concluded
Adverse to in legal action            Dern Capital Management Corporation               As counsel (2004-2006) concluded
Adverse to in legal action            Drake & Co.                                       As counsel (1990-1991) concluded



  Page    2 of 6
        Case
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                                           FINRA DisputeEntered
                                                         Resolution on  FLSD Docket 03/07/2022 Arbitrator
                                                                    Services                    Page ID:  3 of 6A16138
Adverse to in legal action        FFP Securities                                   As counsel (1997-1998; 1997-2001)
                                                                                   concluded
Adverse to in legal action        FFP Securities                                   Defended co-respondent (1997-1998)
Has made a disclosure about       FINRA Case #16-03637                             Neutral in case where motion to vacate
                                                                                   filed. Motion denied.
Adverse to in legal action        FNB Brokerage Services                           As counsel (1996-1997) concluded
Adverse to in legal action        First Florida Sec                                As counsel (1985-1986) concluded
Adverse to in legal action        First Investors Corp                             As counsel (1993-1994) concluded
Licensed to Practice Law in       Florida                                          #240540
Is a Member of Bar Association    Florida Bar Association
Adverse to in legal action        GMS Group, Inc.                                  As counsel (1992) concluded
Adverse to in legal action        Global Financial Group, Inc.                     As counsel (2000-2002) concluded
Represented in legal action       Global Financial Group, Inc.                     Defended 3 co-respondents (1998-
                                                                                   1999)
Adverse to in legal action        Greenway Capital Corp                            Defended co-respondent (1996)
Adverse to in legal action        Gruntal & Co                                     As counsel (1987-1988) concluded
Adverse to in legal action        Hanover Sterling                                 Defended ex-broker (1996)
Adverse to in legal action        Hanover Sterling                                 Defended ex-broker (1996-1997)
Adverse to in legal action        JW Charles                                       As counsel (1992-1993; 1996-1997)
                                                                                   concluded
Adverse to in legal action        Janney Montgomery Scott                          As counsel (2001-2003) concluded
Adverse to in legal action        Joseph Charles & Assoc.                          As counsel (1997-1998) concluded
Adverse to in legal action        Josepthal & Co.                                  As counsel (2003) concluded
Adverse to in legal action        Josepthal Lyon & Ross                            As counsel (1997-1998) concluded
Was Licensed to Practice Law in   Louisiana                                        Inactive status since July 2006
Was a Member of Bar               Louisiana Bar Association
Association
Received Honors                   Martindale-Hubbell                               AV Rating
Adverse to in legal action        Merrill Lynch                                    As counsel (1988-1990) concluded
Lectured for                      NASDR                                            Arbitrators skills program (July 1997)
Adverse to in legal action        PCM Securities                                   As counsel (1997) concluded
Was an Expert/Consultant          Paine Webber                                     As counsel (1988) concluded
against
Adverse to in legal action        PaineWebber                                      As counsel (1990-1991; 1991; 2003-
                                                                                   2006) concluded
Was a Member of Bar               Palm Beach County Bar Association
Association
Lectured for                      Palm Beach County Bar Association                Commonly Asserted Claims in
                                                                                   Securities Arbitration (March 1993)
Adverse to in legal action        Prudential Bache                                 As counsel (1988-1989) concluded
Adverse to in legal action        Prudential Securities                            As counsel (1992-1993; 1993-1995)
                                                                                   concluded
Adverse to in legal action        Raymond James                                    As counsel (1989-1990; 1992-1994)
                                                                                   concluded


  Page   3 of 6
        Case
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                                                      FINRA DisputeEntered
                                                                    Resolution on  FLSD Docket 03/07/2022 Arbitrator
                                                                               Services                    Page ID:  4 of 6A16138
Represented in legal action                 Richard Scott Asset Mgmt                                         As counsel (1998-1999) concluded
Adverse to in legal action                  S.I.I. Investments                                               As counsel (1998-1999) concluded
Adverse to in legal action                  Shearson Lehman                                                  As counsel (1990-1991; 1992-1994)
                                                                                                             concluded
Adverse to in legal action                  Smith Barney, Inc.                                               1995-1996; 1997-1998
Adverse to in legal action                  Sterling Financial Invetment Group                               As counsel (2004-2007) concluded
Adverse to in legal action                  Thomas K. Wasserman & Assoc.                                     As counsel (1997-1999) concluded
Received Honors                             US Army                                                          Bronze Star for meritorious
                                                                                                             achievement in Vietnam
Received Honors                             US Army                                                          Commendation Medal for meritorious
                                                                                                             service in Germany
Licensed to Practice Law in                 US Court of Appeals                                              11th Circuit
Licensed to Practice Law in                 US District Court of Florida                                     Middle and Southern Districts
Adverse to in legal action                  Wachovia Securties, LLC                                          As counsel (2003-2004) concluded
Adverse to in legal action                  Wien Sec. Corp.                                                  As counsel (1999-2000) concluded
Non-investment related                                                                                       Defendant 1991 suit for breach of
lawsuit/charge                                                                                               lease; settled; cross-claim filed by co-
                                                                                                             defendant dismissed
Has published                                                                                                Neutral has published numerous short
                                                                                                             stories and poems. Full list available
                                                                                                             upon request.
Non-investment related                                                                                       Petitioner 1993 suit against executor of
lawsuit/charge                                                                                               mother's estate; settled
Non-investment related                                                                                       Plaintiff 1994 suit against corporate
lawsuit/charge                                                                                               client for legal fees; fees were paid/
                                                                                                             case dismissed
Non-investment related                                                                                       Plaintiff 1996 suit against client,failure
lawsuit/charge                                                                                               to pay fees; counterclaim filed; fees
                                                                                                             paid case dismissed


               PUBLICLY AVAILABLE AWARDS FOR CASES INVOLVING PUBLIC CUSTOMERS
                                 Publicly Available Awards for Cases Involving Public Customers Section, Current as of 10/16/2020

Case ID            Case Name                                                                                            Close Date         Role
15-02877           James Gagliardi and Nohra Gagliardi vs. Pacific West Securities, Inc., Philip                        04/12/2017         Panelist
                   Anthony Pizelo, et al.
14-03462           Robert & Ronnie Berger, Individually, et al. vs. Stifel, Nicolaus & Company, Inc.                    03/29/2016         Chair
14-02412           Carl Reidway vs. Morgan Stanley Smith Barney, LLC n/k/a Morgan Stanley                               09/18/2015         Chair
13-01599           Gary Zack, Jennifer Bernard-Zack, Robert R. LaViolette and Billie J. LaViolette vs.                  08/07/2014         Panelist
                   John Thomas Financial, Inc., et al.
13-01059           Courtney Munson vs. Primex                                                                           04/01/2014         Panelist
12-01842           International Alliance, C.V. vs. UBS Financial Services Inc.                                         08/28/2013         Panelist
01-00966           George Spencer and Rhoda Spencer v. First London Securities Corporation and                          05/02/2002         Panelist
                   Doug Nichols
01-03438           PJ Perry and Gaye L. Perry vs. John Healy and Ralph Merhi                                            02/28/2002         Panelist




           PUBLICLY AVAILABLE AWARDS FOR CASES NOT INVOLVING PUBLIC CUSTOMERS
                             Publicly Available Awards for Cases NOT Involving Public Customers Section, Current as of 10/16/2020
  Page    4 of 6
        Case
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                                                 FINRA DisputeEntered
                                                               Resolution on  FLSD Docket 03/07/2022 Arbitrator
                                                                          Services                    Page ID:  5 of 6A16138
                        Publicly Available Awards for Cases NOT Involving Public Customers Section, Current as of 10/16/2020

Case ID      Case Name                                                                                            Close Date       Role
19-01592     Brian Btesh vs. Northwestern Mutual Investment Services, LLC                                         07/29/2020       Chair
19-03305     NewBridge Securities Corporation vs. Dominic J. Linsalata Jr.                                        02/03/2020       Chair
16-03637     Eric J. Abrahams and Andrew G. Mandala vs. Raymond, James & Associates, Inc.                         12/17/2018       Panelist
             and Raymond James Financial, Inc.
13-00793     Jorge Gutierrez vs. Schroder Fund Advisors LLC and Jason Barger                                      06/13/2014       Panelist




                      CASES CURRENTLY ASSIGNED INVOLVING PUBLIC CUSTOMERS
Case ID     Parties and Current Representatives of Record                                                          Date Assigned    Role

19-02544    Customer (Counsel: Mr. Osvaldo Carlo, Esq., Boca Raton, FL) vs. UBS Financial Services Inc.            11/15/2019       Chair
            (Counsel: David N. Luder, Esq., New Orleans, LA)
19-02242    Customer (Counsel: Mr. Osvaldo Carlo, Esq., Boca Raton, FL) vs. UBS Financial Services Inc.            10/23/2019       Chair
            (Counsel: Kathryn Eldridge, Esq., Birmingham, AL)
19-02053    Customer (Counsel: Mr. Scott C. Ilgenfritz, Esq., Tampa, FL) vs. J.P. Morgan Securities, LLC           10/13/2020       Panelist
            (Counsel: Ms. Gabrielle L. Gould, Esq., New York, NY); Evan A. Schottenstein (Counsel: Mr.
            Jonathan J. Brennan, Esq., New York, NY); Avi Elliot Schottenstein (Counsel: Mr. Robert C.
            Harris, Esq., Coral Gables, FL)
19-00708    Customer (Counsel: Mr. Eric M. Quetglas Jordan, Esq., Guaynabo, PR) vs. UBS Financial                  06/13/2019       Chair
            Services Inc. (Counsel: Viviana Aldous, Esq., New Orleans, LA); UBS Financial Services Inc.
            Of PR (Counsel: Roberto Quinones, Esq., San Juan, PR)
18-03849    Customer (Counsel: Mr. Osvaldo Carlo Linares, Esq., Boca Raton, FL) vs. Santander Securities           01/18/2019       Chair
            LLC (Counsel: Frances R. Pesquera, Esq., San Juan, PR)
18-03636    Customer (Counsel: Mr. Jeffrey R. Sonn, Esq., Miami, FL) vs. Santander Securities LLC                  01/02/2019       Panelist
            (Counsel: Mr. James Heyworth, Esq., New York, NY)
18-03350    Customer (Counsel: Osvaldo Carlo Linares, Esq., Boca Raton, FL) vs. Santander Securities               02/22/2019       Chair
            LLC (Counsel: Mauricio O. Muniz Luciano, Esq., San Juan, PR)




                  CASES CURRENTLY ASSIGNED NOT INVOLVING PUBLIC CUSTOMERS
Case ID     Parties and Current Representatives of Record                                                          Date Assigned    Role

19-01783    Wells Fargo Clearing Services, LLC (Counsel: Mr. Craig Stein, Esq., Palm Beach, FL) vs.                09/05/2019       Chair
            Jeffrey T. Williams (Counsel: Mr. John A. Hubbard, Esq., Naples, FL)




                                     ARBITRATOR BACKGROUND INFORMATION


I practiced law for thirty-three years from 1973 to July 2006. From 1980 to July 2006, my practice emphasized securities law,
including arbitration and litigation. I was an enforcement attorney with the Securities and Exchange Commission for
approximately 4 1/2 years prior to entering private practice. While with the Securities and Exchange Commission my duties
entailed investigation of possible violations of federal securities laws and prosecution of civil enforcement and administrative
actions .My areas of work included churning of option accounts, fraudulent securities offerings, insider trading, net capital
violations, accounting fraud by public companies, reporting violations, non-compliance with securities registration exemptions,
fraud by investment advisers and investment companies and broker-dealer books and records violations. I was in private
practice from 1984 to July 2006. During that period, I had experience handling public and private securities offerings, securities
registration exemptions, preparation of reports required to be filed with the Securities and Exchange Commission by public
companies, compliance issues and representation of public and private companies in matters other than litigation. I also litigated
in federal and state courts and arbitrated before the New York Stock Exchange, NASDR and American Arbitration Association in
matters involving mostly securities laws. Securities litigation and arbitrations involved suitability of investments, churning,
unauthorized trading and other types of securities fraud, failure to supervise and securities registration violations. The litigation
part of my practice included representation of individuals and companies in investigations and enforcement actions initiated by
  Page 5 of 6
the  SEC and state securities regulators.
in federal and state courts and arbitrated before the New York Stock Exchange, NASDR and American Arbitration Association in
matters involving mostly securities laws. Securities litigation and arbitrations involved suitability of investments, churning,
        Case 1:21-cv-20521-BB
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                          and other types of securities FINRA DisputeEntered
                                                               failureResolution
                                                                                 on  FLSD
                                                                                 Services
                                                                       to supervise
                                                                                             Docket 03/07/2022 ArbitratorPageThe
                                                                                       and securities registration violations.
                                                                                                                               6 of
                                                                                                                               ID:     6A16138
                                                                                                                                   litigation
part of my practice included representation of individuals and companies in investigations and enforcement actions initiated by
the SEC and state securities regulators.

In summary, during my years in private practice my legal work can be broken down into the following four areas: (1)
Transactional work involving public and private companies; (2) Representation of individuals in investigations and enforcement
matters initiated by the SEC and state securities regulators; (3) Securities litigation and arbitrations representing customers,
brokers and occasionally brokerage firms; and (4) General business litigation and other matters.

I have testified as an expert witness regarding compliance with Federal Reserve Board Regulation T. I have been retained as
an expert witness to testify concerning whether a transaction involves the sale of a security, statute of limitations in securities
claims, suitability of investments, churning and damages.

Military Service

I was in the United States Army from February 1966 to April 1970 and honorably discharged with the rank of Captain. I was
awarded the Army Commendation Medal for meritorious service in Germany from May 1967 to December 1968, and I was
awarded the Bronze Star for meritorious achievement in Vietnam from March 1969 to April 1970.




  Page   6 of 6
